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            8
                                       UNITED STATES DISTRICT COURT
            9
                                      EASTERN DISTRICT OF CALIFORNIA
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           11
                UNITED STATES OF AMERICA, )             Case No. 1:07 CR 243 OWW
           12                             )
                                          )             ORDER FOR PSYCHIATIC OR
           13
                          Plaintiff,      )             PSYCHOLOGICAL EXAMINATION
           14                             )             OF DEFENDANT
                     vs.                  )
           15                             )
                LEM PHIN,                 )
           16
                          Defendant.      )
           17

           18     THE COURT HAVING HEARD THIS MATTER on August 3, 2009 and with the
           19
                concurrence of counsel and advisory counsel for the defendant, orders that the
           20
                defendant be examined pursuant to 18 United States Code 4241 (b).
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           23                                              IT IS SO ORDERED
           24   Dated: August 10, 2009                      /s/ OLIVER W WANGER
           25
                                                           United States District Judge
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